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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-CR-0012-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

LAWRENCE RUDOLPH,

       Defendant.



                                         INDICTMENT


       The Grand Jury Charges that:

                                              COUNT 1

       1.      On or about October 11, 2016, the defendant LAWRENCE RUDOLPH, being a

national of the United States as defined by the Immigration and Nationality Act, 8 U.S.C.

§ 1101(a)(22), willfully, deliberatively, maliciously, and with premeditation and malice

aforethought, unlawfully killed Bianca Rudolph, a national of the United States as likewise

defined by the Immigration and Nationality Act, while she was outside the United States but

within the jurisdiction of another country.

        All in violation of Title 18, United States Code, Sections 1119 and 1111.

                                              COUNT 2

       2.      Beginning no later than October 11, 2016 and continuing until in or about

March 16, 2017, within the state and district of Colorado and elsewhere, the defendant
LAWRENCE RUDOLPH, devised and intended to devise a scheme and artifice to defraud

and to obtain, by means of materially false and fraudulent pretenses, representations and
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promises, money and property, to wit a total of approximately $4,877,744.93 in U.S.

currency, from LIFE INSURANCE COMPANIES 1-7, the identities of which are known to

the Grand Jury.

       3.      LAWRENCE RUDOLPH defrauded LIFE INSURANCE COMPANIES 1-7

by means, of among others, the false and fraudulent pretense, representation and promise that

Bianca Rudolph had died as the result of the accidental discharge of a firearm when, in fact,

she had been murdered as alleged in COUNT 1.

       4.      On or about the dates listed below, in the State and District of Colorado and
elsewhere, for the purpose of executing the scheme, defendant LAWRENCE RUDOLPH

knowingly caused and aided and abetted others who knowingly caused to be delivered by the

interstate commercial carrier identified below addressed to the address listed below,

according to the direction thereon, an envelope containing documents related to the life

insurance policy identified below:

  Date       Company        Policy/           Address Where Sent                Carrier
                            Certificate
                            Number

 1/18/17    LIFE             104TLP          116 Inverness Drive East        Federal Express
            INSURANCE        105665          Englewood, CO 80112
            COMPANY 1


       All in violation of Title 18, United States Code, Sections 1341 and 2.

                                     NOTICE OF FORFEITURE

       5. The allegation contained in Count 2 of this Indictment is hereby re-alleged and

incorporated by reference for the purpose of alleging forfeiture pursuant to the provisions of Title

18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461(c).

       6. Upon conviction of the violation alleged in Count 2 of this Indictment involving the

commission of a violation of Title 18, United States Code, Sections 1341 and 2, the defendant

LAWRENCE RUDOLPH shall forfeit to the United States, pursuant to Title 18, United States
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Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461(c), any and all

rights, title, and interest in all property constituting and derived from any proceeds he obtained

directly and indirectly as a result of such offense or offenses or shall be liable for a money

judgment in the amount of the proceeds that he obtained as a result of the scheme charged in

Count 2f this Indictment.

       7.      If any of the property described above, as a result of any act or omission of

LAWRENCE RUDOLPH, cannot be located upon the exercise of due diligence; has been

transferred or sold to, or deposited with, a third party; has been substantially diminished in value;

or has been commingled with other property that cannot be divided without difficulty, it is the

intent of the United States, pursuant to Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of LAWRENCE RUDOLPH up to the value of the forfeitable property described above.

                                                      A True Bill:

                                                      Ink signature on file in Clerk’s Office
                                                      Foreperson

COLE FINEGAN
United States Attorney


 By:      /s Bryan Fields                       By:      /sGarreth Winstead
 Bryan Fields                                   Garreth Winstead
 Assistant United States Attorney               Assistant United States Attorney
 U.S. Attorney’s Office                         U.S. Attorney’s Office
 1801 California St. Suite 1600                 1801 California St. Suite 1600
 Denver, CO 80202                               Denver, CO 80202
 (303) 454-0100                                 (303) 454-0100
 Bryan.Fields3@usdoj.gov                        Garreth.Winstead@usdoj.gov
